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                                                            FY-2019 Protection   Federal Portion Based on  FY18 Actuals
                             Salaries, Wages,& Fringe                                                                       State Portio n Based on FY18 Actuals
                                                                $91,000,000.00                            $21,840,000.00
                             Travel                              $8,636,471.57                                                                      $69,160,000.00
                                                                                                            $2,072,753.18                            $6,563,718.40
                             Contractual Services               $60,385,729.15                            $15,700,289.58                           $44,685,439.57
                             Commodities                         $1,556,707.46                                $389,176.86                            $1,167,530.59
                             Equipment                           $2,754,950.00                               $606,089.00
Filed 09/03/19




                             Subsidies, Loans, & Grants         $66,555,045.04                                                                       $2,148,861.00
                                                                                                         $26,622,018.02                            $39,933,027.0,2
                             Total Projected Expenditures     $230,888,90322                            $67,230,326.64                          $163,658,576.58
                             Maximum Fed Funds via DHS
                                                                                                        $30,000,000.00                          ($30,000,000.00)
                                                                                                        $97,230,326.64                          $133,658,576.58
Document 857-12
Case 3:04-cv-00251-HSO-ASH



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